       Case 5:22-cv-00068-FB-ESC Document 13 Filed 03/22/22 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


DENYONNA N. REED,                               §
                                                §
                   Plaintiff,                   §                 SA-22-CV-00068-FB
                                                §
vs.                                             §
                                                §
I.Q. DATA INTERNATIONAL, INC.,                  §
                                                §
                   Defendant.                   §

                 ORDER SETTING INITIAL PRETRIAL CONFERENCE

       Before the Court is the above-styled and numbered cause of action, which was referred to

the undersigned on March 10, 2022, for all pretrial proceedings [#12]. The record reflects that

Defendant has filed an answer to Plaintiff’s Complaint, and the District Court has ordered the

parties to file their proposed scheduling recommendations on or before May 9, 2022.

       IT IS THEREFORE ORDERED that, pursuant to Rule 16 of the Federal Rules of Civil

Procedure, this case is set for an Initial Pretrial Conference at 10:00 a.m. on June 7, 2022.

Counsel for all parties are required to appear by Zoom for the conference. The information to

join the conference is as follows:

       Join ZoomGov Meeting: https://txwd-uscourts.zoomgov.com/j/16126729723

       Meeting ID: 161 2672 9723

       If there are questions regarding the Zoom appearance, the parties should contact Valeria

Sandoval, Courtroom Deputy, at txwdml_chambers_sa_judgechestney@txwd.uscourts.gov.

       Because earlier hearings in other cases may be in progress at the time attorneys log-in for

their scheduled hearing, attorneys may be required to wait in the Zoom “waiting room” until the

Courtroom Deputy addresses them. Parties should review the July 15, 2020 Standing Order



                                                1
        Case 5:22-cv-00068-FB-ESC Document 13 Filed 03/22/22 Page 2 of 3




Regarding Telephone or Video Teleconference Hearings, which is available upon request from

the Courtroom Deputy and on the Court’s website.

        IT IS FURTHER ORDERED that the parties confer in the manner required by Rule 26

of the Federal Rules of Civil Procedure; further, pursuant to Local Rule CV-16 the parties should

submit their Joint Discovery/Case Management Plan in a form that substantially conforms with

Appendix N of the Local Rules and that answers the following questions no later than May 9,

2022.

   1. Are there any outstanding jurisdictional issues? For removed cases based on diversity
      jurisdiction, do the parties agree that the amount in controversy exceeded $75,000 at the
      time of removal? If not, each party should state its position on the amount in controversy.
   2. Are there any unserved parties? If more than 90 days have passed since the filing of the
      Complaint or petition, should these unserved parties be dismissed?
   3. What are the causes of action, defenses, and counterclaims in this case? What are the
      elements of the cause(s) of action, defenses, and counterclaims pled?
   4. Are there any agreements or stipulations that can be made about any facts in this case or
      any element in the cause(s) of action?
   5. State the parties’ views and proposals on all items identified in Fed. R. Civ. P. 26(f)(3).
   6. What, if any, discovery has been completed? What discovery remains to be done? Have
      the parties considered conducting discovery in phases?
   7. What, if any, discovery disputes exist?
   8. Have the parties discussed the desirability of filing a proposed order pursuant to Federal
      Rule of Evidence 502?
   9. Have the parties discussed mediation?

During their conference, the parties should also address whether a protective order is required,

and whether the protective order in Appendix H-1 (to govern standard cases) or Appendix H-2

(to govern complex cases) of this Court’s Local Rules is appropriate. The Court will address the

substance of the parties’ joint report and discovery plan at the Initial Pretrial Conference.

        IT IS FURTHER ORDERED that the parties submit a proposed scheduling order as

directed by the District Court in its Order dated March 10, 2022 [#10], on or before May 9,

2022. The Court will discuss with the parties any proposed changes to the Court’s standard

scheduling order based on the unique circumstances of this case at the Initial Pretrial Conference.

                                                  2
Case 5:22-cv-00068-FB-ESC Document 13 Filed 03/22/22 Page 3 of 3




IT IS SO ORDERED.

SIGNED this 22nd day of March, 2022.




                           ELIZABETH S. ("BETSY") CHESTNEY
                           UNITED STATES MAGISTRATE JUDGE




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